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                                   UNITED STATES DISTRICT COURT
                                 FOR THE MIDDLE DISTRICT OF FLORIDA
                                       JACKSONVILLE DIVISION

      RIVER CITY EDUCATION ORGANIZATION,
      INC., etc., et al.,

                Plaintiffs,
                                                                         Case No.: 3:19-cv-00676-MMH-JRK
      v.
      MARCUS MAY, et al.,
                 Defendants.
     _________________________________________/
                       MARCUS MAY BANKRUPTCY CASE STATUS REPORT

           In accordance with the Court’s Order (Doc. 160) directing the Parties to file a report advising the

 Court as to the status of the bankruptcy case by September 7, 2021, 1 Plaintiffs, RIVER CITY EDUCATION

 ORGANIZATION, INC., PALM BAY EDUCATION GROUP, INC., and PINELLAS EDUCATION

 ORGANIZATION, INC. (collectively, “Plaintiffs”), file this Status Report, and after consultation and

 consent of the Defendants, the Parties state:

           1.       On May 6, 2021, Defendant Marcus May commenced a Chapter 11 proceeding by

 filing a voluntary petition (the “Petition”) for relief under Subchapter V of Chapter 11 in the case

 styled: In re Marcus Nelson May, Case No.: 21-10086-KKS, in the United States Bankruptcy Court

 for the Northern District of Florida, Gainesville Division (the “Bankruptcy Case”).

           2.       A meeting of creditors pursuant to 11 U.S.C. § 341 was held in the Bankruptcy

 Case on June 2, 2021.




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  On September 14, 2021, the Court entered an Order (Doc. 161) directing that the parties show cause why the case
 should not be dismissed for failure to file the required status report by September 7, 2021. A response to the Order to
 Show Cause (Doc. 161) is being filed contemporaneously with this Status Report.
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        3.      On June 9, 2021, the Bankruptcy Court entered an Order granting Mr. May’s

 motion requesting relief from the automatic stay to permit the appeal of his criminal conviction

 (the “Appeal”) to proceed (Case No.: 21-10086-KKS, Doc. 46).

        4.      Full and final disposition the Appeal is a critical issue in the bankruptcy case,

 including, but not limited to, whether Mr. May’s liability to the Plaintiffs is a non-dischargeable

 debt pursuant to 11 USC § 523.

        5.      On July 13, 2021, Plaintiffs each filed their respective Proofs Claim against Mr.

 May’s bankruptcy estate (Case No.: 21-10086-KKS: Claim 8, Claim 9, and Claim 10).

        6.      On August 26, 2021, Florida’s First District Court of Appeal (the “First DCA”)

 entered an order affirming Mr. May’s criminal conviction and 20-year prison sentence by written

 opinion (the “First DCA Opinion”).

        7.      On August 31, 2021, Mr. May filed his proposed Chapter 11 Plan and Disclosure

 Statement (Case No.: 21-10086-KKS, Doc. 97).

        8.      On September 10, 2021, Mr. May filed a Motion for Rehearing regarding the First

 DCA Opinion.

        9.      As of the date of this filing, the First DCA has yet to issue a ruling on Mr. May’s

 Motion for Rehearing. As such, Mr. May’s Appeal remains pending.

        10.     A Bankruptcy Rule 2004 Examination of Mr. May’s business manager and

 representative, Kevin Rose, is scheduled for October 4, 2021 (see Case No.: 21-10086-KKS, Docs.

 85 and 110). Topics for the examination of Mr. Rose include: (a) the acts, conduct, property,

 liabilities, and financial condition of Mr. May; (b) matters which may affect administration of Mr.

 May’s bankruptcy estate; (c) matters which may affect Mr. May’s right to a discharge or the

 dischargeability of certain debts; (d) the operation of Mr. May’s businesses; and (e) other matters



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 relevant to Mr. May’s bankruptcy case and the formation of his proposed Chapter 11 Plan.

        11.    The Bankruptcy Court has set a confirmation hearing on Mr. May’s proposed

 Chapter 11 Plan and Disclosure Statement for November 17, 2021.

        Respectfully submitted this 22nd day of September, 2021.

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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 22nd day of September, 2021, a copy of the foregoing
 has been electronically filed with the Clerk of the U.S. District Court, Middle District of Florida,
 via CM/ECF, and copies electronically delivered to the following:

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                                                      /s/ James C. Eidson
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